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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 COMMON CAUSE INDIANA,

          Plaintiff
                                                               Case Number 1:17-cv-3936
 v.

 CONNIE LAWSON, in her official capacity as
 Secretary of State of Indiana, J. BRADLEY
 KING, in his official capacity as Co-Director of
 the Indiana Election Division, and ANGELA M.
 NUSSMEYER, in her official capacity as Co-
 Director of the Indiana Election Division,

          Defendants



         PROPOSED DEFENDANT-INTERVEVOR THE PUBLIC INTEREST LEGAL
                  FOUNDATION’S SUPPLEMENTAL AUTHORITY

          In accordance with the Court’s December 19, 2017 Order, the Public Interest Legal

 Foundation (the “Foundation”), by and through undersigned counsel, respectfully submits the

 following supplemental authority in support of its motion for leave to intervene in this case and

 in response to the issues raised by the Plaintiff’s supplemental authority filed on December 17,

 2017.

          The circuit cases presented by the Plaintiff as authority on the determination of the

 Foundation’s motion for intervention are inapposite and not dispositive of the motion. Through

 Flying J, Inc. v. Van Hollen, 578 F.3d 569 (7th Cir. 2009) and Bond v. Utreras, 585 F.3d 1061

 (7th Cir. 2009), Plaintiff attempts to hold the Foundation to an inapplicable standard for

 intervening as a defendant in this case.




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         Both of those cases involved unique circumstances not present here. In Bond, the case

 had been dismissed with prejudice already. Id. at 1068. Therefore, the issue was whether a

 permissive intervenor must establish standing when a case has already been dismissed. In that

 situation the answer is yes, because otherwise there would be no existing case or controversy

 because the existing parties had settled. Id. at 1071. Nothing analogous to these circumstances is

 present in the instant case.

         In Flying J, again, the case would have been concluded but for the proposed intervenor.

 The proposed intervenor there was seeking intervention in order to pursue an appeal when the

 existing defendant had decided not to appeal. Flying J, 578 F.3d at 572. In that circumstance,

 like in Bond, the intervenor had to establish separate standing because but for the intervention

 there would no longer be a case or controversy. Again, nothing analogous to these circumstances

 is present in the instant case.

         In both of those cases, because the case would not continue to exist without the

 intervenors, they had to establish that their interest was such that it could support an independent

 action. But that is not the case here.

         More apropos are the cases of Solid Waste Agency v. United States Army Corps of

 Eng’rs, 101 F.3d 503 (7th Cir. 1996) and Habitat Educ. Ctr., Inc. v. Bosworth, 221 F.R.D. 488

 (E.D. Wis. 2004). Those cases explain how the standing requirement that the Seventh Circuit has

 recognized in the intervention context does not require that the proposed intervenor show that he

 could bring a separate, independent action. Indeed, such a requirement, conflicts with the very

 essence and purpose of intervention, unless the case would be disposed of but for the

 intervention, as was the case in Bond and Flying J. As Judge Posner observed in Solid Waste

 Agency, “But is ‘interest’ in Rule 24(a)(2) identical to the interest that is required to confer



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 standing? It could be less, since by assumption there are parties with standing already in the case.

 Or it could be more, or different.” Solid Waste Agency, 101 F.3d at 506. The court went on to

 remark that, “The strongest case for intervention is not where the aspirant for intervention could

 file an independent suit, but where the intervenor-aspirant has no claim against the defendant yet

 a legally protected interest that could be impaired by the suit.” Id. at 507. Such is the case here.

 Because the Foundation is intervening as a defendant, it is irrelevant whether it has independent

 standing to bring suit against Plaintiff or Defendant. Defendants do not bring lawsuits. What

 matters is that it has a legally protectable interest in the outcome of the suit. And the Foundation

 has demonstrated that through its educational, research, and litigation activities in Indiana and

 throughout the country. The district court in Habitat Educ. further expounded, “If, at the outset, a

 federal court has correctly determined that it has an actual ‘case’ or ‘controversy’ before it, the

 purpose of Article III is not frustrated by allowing intervenors to subsequently participate in the

 proceedings.” Habitat Educ., 221 F.R.D. at 493. Indeed, “adding an Article III standing

 requirement to the interest requirement of Rule 24(a)(2) is conceptually problematic particularly

 where, as here, a party seeks to intervene as a defendant.” Id. Here, there is unquestionably a live

 case or controversy between the parties and, the Foundation seeks to intervene as a defendant.

 The Foundation therefore does not need to establish an independent case or controversy.




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 Dated: December 22, 2017

 /s/ Joseph A. Vanderhulst
 Kaylan L. Phillips                               J. Christian Adams (pro hac vice application
 Joseph A. Vanderhulst                            forthcoming)
 Public Interest Legal Foundation                 Public Interest Legal Foundation
 32 E. Washington Street, Ste. 1675               300 N. Washington Street, Ste. 405
 Indianapolis, IN 46204                           Alexandria, VA 22314
 Tel: (317) 203-5599                              (317) 203-5599
 Fax: (888) 815-5641                              adams@publicinterestlegal.org
 kphillips@publicinterestlegal.org
 jvanderhulst@publicinterestlegal.org


 Counsel for Proposed Defendant-Intervenor Public Interest Legal Foundation




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                                 CERTIFICATE OF SERVICE

         I certify that on December 22, 2017, I caused the foregoing to be filed with the United

 States District Court for the District of Indiana via the Court’s CM/ECF system, which will serve

 all registered users.



                                                              /s/ Joseph A. Vanderhulst
                                                             Joseph A. Vanderhulst




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